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              United States Court of Appeals for the Third Circuit

                      Corporate Disclosure Statement and
                        Statement of Financial Interest

                                      No. 24-8044

             Atlas Data Privacy Corporation, et al.

                                               v.

             Blackbaud Inc., et al.

Pursuant to Federal Rule of Appellate Procedure 26.1 and Third Circuit LAR 26.1,
Enformion, LLC (“Enformion”) makes the following disclosure:

1. For non-government corporate parties please list all parent corporations and any
   publicly held corporation that owns 10% or more of its stock or state that there
   is no such corporation:

Enformion has no parent corporation and no publicly held corporation owns
10% or more of its stock.

2. If there is a publicly held corporation which is not a party to the proceeding
   before this Court, but which has a financial interest in the outcome of the
   proceeding, please identify all such parties and specify the nature of the
   financial interest or interests:

Not applicable.

3. In all bankruptcy appeals counsel for the debtor or trustee of the bankruptcy
   estate must list: 1) the debtor, if not identified in the case caption; 2) the
   members of the creditors’ committee of the top 20 unsecured creditors; and, 3)
   any entity not named in the caption which is active participant in the bankruptcy
   proceeding. If the debtor or trusteed is not participating in the appeal, this
   information must be provided by appellant.

Not applicable.
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4. In criminal appeals, the government must file a disclosure statement if an
   organization is a victim of the crime. If the organization victim is a corporation,
   the statement must also identify any parent corporation and any publicly held
   corporation that owns 10% or more of its stock to the extent it can be obtained
   through due diligence.

Not applicable.

Dated: December 16, 2024               TROUTMAN PEPPER HAMILTON
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